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                              UNITED STATES DISTRICT COURT
 6
                                     DISTRICT OF NEVADA
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 8   JUSTIN PAULO,
                                                          Case No. 2:19-cv-00474-APG-NJK
 9         Plaintiff(s),
                                                                        Order
10   v.
                                                                    [Docket No. 62]
11   BRIAN WILLIAMS, et al.,
12         Defendant(s).
13        Pending before the Court is a motion to extend the deadline to respond to the order to show
14 cause. Docket No. 62. For good cause shown, the motion to extend is GRANTED and
15 Defendants’ deadline to respond to the order to show cause is EXTENDED to December 13, 2021.
16        IT IS SO ORDERED.
17        Dated: November 30, 2021
18                                                             ______________________________
                                                               Nancy J. Koppe
19                                                             United States Magistrate Judge
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